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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-MLB
                                             )
MICHAEL BIGLOW, et al.,                      )
                                             )
                         Defendants.         )
                                             )

                              MEMORANDUM AND ORDER


       This case comes before the court on the government’s motion to
dismiss the indictment, without prejudice.                 (Doc. 575).          The court
held a status conference on October 30 at which the government’s
motion was discussed.          The court informed all counsel that any
objections pertaining to the motion must be filed by November 2.
Defendants James Black, Robert Dear, Tyrone Andrews, Clifton Parks and
Jerry Newton have objected to the government’s motion.                    (Docs. 578,
579, 580, 581, 582).      The remaining ten defendants have not objected.
I.     Procedural History
       This case was originally filed on November 20, 2007, against nine
defendants.      On June 6, 2008, this court granted defendant Michael
Biglow’s motion to suppress.        (Doc. 155).        The trial was set to begin
on June 11, 2008.       On June 9, the government appealed this court’s
order granting Biglow’s motion. The government then moved to continue
the trial against all defendants or, in the alternative, dismiss the
indictment against all defendants. The government’s position was that
Biglow’s involvement was an integral part of the conspiracy.                          The
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court granted the government’s motion to dismiss the indictment.1
     On May 12, 2009, this court received the Tenth Circuit’s mandate
reversing its decision.     (Doc. 212).    On May 13, the government filed
a Second Superseding Indictment against the original nine defendants
and an additional eleven defendants.2          (Doc. 214).       The court has
issued several rulings with respect to all defendants in this case.
See Docs. 460, 485, 496, 534.        On September 24 and October 21 the
court conducted a James hearing to determine the admissibility of
phone conversations that were recorded pursuant to a Title III
wiretap.     After the hearing, several defendants moved for dismissal
of count 1, the conspiracy count, on the basis that the government had
not established a conspiracy.       (Docs. 503, 508, 511, 514, 515, 520,
529, 535).
     The court wrote a letter to the government seeking additional
information to support the existence of the conspiracy.             (Doc. 534).
The government responded to the court’s letter on October 26.                On
October    29, the court entered an order prohibiting the telephone
calls from being introduced as coconspirator statements.             (Doc. 565).
The court found that the government had not satisfied its burden to
establish that a conspiracy existed between all defendants. The court
also ruled that the calls, however, could be admitted for other
purposes during trial.3       The court did not dismiss the conspiracy

     1
         None of the defendants objected to the government’s motion.
     2
         As of this date, five of the defendants have entered guilty
pleas.
     3
       The trial was set for November 3. The court called off the
jury on November 2 in order to allow defendants to object to the
government’s motion and to provide time for the government to respond.

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count but instead directed the government to state its intentions with
respect to the conspiracy count.      The government moved to dismiss the
indictment “to evaluate the Court’s Memorandum and Order and relevant
case law.” (Doc. 576 at 3). The government stated during the October
30 hearing that it will either refile the same charges against
defendants or it will file smaller, separate conspiracy charges
instead of one large conspiracy.
      Dear and Newton argue that the government has not provided the
court with a sufficient reason for the dismissal and Black argues that
the dismissal would be tantamount to harassment since this case has
been ongoing for almost two years.4        (Docs. 578, 579, 580).
II.   Analysis
      Fed. R. Crim. P. 48 (a) allows the government to dismiss an
indictment, with leave of court.           The Supreme Court has not had
occasion to rule on the meaning of the words “leave of court” but has
offered the following:
           The words “leave of court” were inserted in Rule 48(a)
      without explanation. While they obviously vest some
      discretion in the court, the circumstances in which that
      discretion may properly be exercised have not been
      delineated by this Court. The principal object of the
      “leave of court” requirement is apparently to protect a
      defendant   against  prosecutorial   harassment,   e.   g.,
      charging, dismissing, and recharging, when the Government
      moves to dismiss an indictment over the defendant's
      objection. But the Rule has also been held to permit the
      court to deny a Government dismissal motion to which the
      defendant has consented if the motion is prompted by
      considerations clearly contrary to the public interest. It
      is unnecessary to decide whether the court has discretion
      under these circumstances, since, even assuming it does,
      the result in this case remains the same.

      4
       Parks has moved to join Black’s and Newton’s motion. (Doc.
582). Parks’ motion is granted. Andrews’ objection is similar to
that of Black’s. (Doc. 581).

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Rinaldi v. United States, 434 U.S. 22, 29 n. 15, 98 S. Ct. 81, 85 n.
15, 54 L. Ed.2d 207 (1977).
       In United States v. Gonzalez, 58 F.3d 459, 461 (9th Cir. 1995),
the Ninth Circuit interpreted the Supreme Court’s dicta as allowing
a court to exercise its discretion to protect a defendant when he has
objected to the government’s motion to dismiss. The Tenth Circuit has
found that the district court “at the very least must know the
prosecutor's reasons for seeking to dismiss the indictment and the
facts underlying the prosecutor's decision.”            United States v. Derr,
726 F.2d 617, 619 (10th Cir. 1984).
       Defendants assert that the government’s reason for dismissal is
not sufficient in the face of an objection.            Dear and Newton rely on
Derr to support their position.          In Derr, the government moved to
dismiss the indictment on the day of trial and noted that the
dismissal would “best meet the ends of justice.”               726 F.2d at 618.
The defendant objected and asserted that she was ready for trial. The
court granted the motion over the defendant’s objection and the
government did file a second indictment.               The defendant moved to
dismiss the second indictment on the basis that the government should
not have been allowed to dismiss the original indictment.                      At a
hearing on the motion to dismiss, counsel for the government asserted
that she was “dissatisfied with the state of the investigation and the
state the charges were in.        So, we moved to dismiss for the purpose
of continuing the further investigation into the matter.”                   726 F.2d
at    619.    The district court dismissed the second indictment after
finding that the reasons stated by the government were not valid. The
Tenth Circuit affirmed.

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       Here, defendants argue that the government’s conduct in this case
is similar to the prosecutor in Derr.             The court disagrees.        Based on
the representations of government counsel, which the court does not
question for one minute, the government was ready to proceed in this
case       and    does   not   seek   dismissal    in   order   to     continue   the
investigation. Rather, the dismissal is sought so that the government
may either decide to continue with one large conspiracy or to break
up the conspiracy count into smaller conspiracies.                   While the court
is not necessarily pleased with continuing this case, it does not find
that the government’s reasons are in bad faith.                  United States v.
Sprofera, 299 F.3d 725, 727 (8th Cir. 2002)(the court should exercise
its discretion and allow a dismissal unless the government is acting
in bad faith).
       Defendants Black and Andrews argue that the government’s conduct
results in harassment as they have been under a cloud of suspicion and
are continued to be held in custody.               There is no evidence of the
government’s intent to harass these defendants.5                      Moreover, the
initial dismissal of the original indictment was clearly warranted
given the circumstances at the time.                Importantly, no defendants
objected or sought a dismissal of the second superceding indictment
based on this court’s granting of the government’s initial motion to
dismiss.         Also, defendants are well aware that they will be released
once the government’s motion is granted, unless they are detained in
connection with new or amended charges.
       In addition, the court has been unable to find any authority that

       5
        Black’s arguments regarding harassment are especially
disingenuous, as noted by the government in its response. (Doc. 583).

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has dealt with a motion to dismiss that is objected to by some but not
all   of   the   defendants    charged.       Clearly,    the    majority     of   the
defendants in this case do not object to the dismissal. This presents
a difficult decision in that the court is faced with sustaining an
objection for the objecting defendants and either forcing the non-
objecting defendants to trial or somehow separating this case, which
would be very difficult.           Accordingly, the court finds that the
government’s reasons in seeking a dismissal, without prejudice, in
this case are valid and the government is not seeking to harass
defendants by moving to dismiss the indictment.
III. Analysis
      The government’s amended motion to dismiss the indictment is
granted.     (Doc. 575).       The second superseding indictment against
Tyrone L. Andrews, Michael L. Biglow, James Black, Robert Dear, Kevin
Gunter,    Gregory   Reynolds,     Cornell     Beard,    Seth    Collins,     Timothy
Collins, Dornel Johnson, Jerry Newton, Clifton Parks, Jose Pizana,
Clerance Reed and Steven Rich, is dismissed, without prejudice.


      IT IS SO ORDERED.
      Dated this     4th      day of November 2009, at Wichita, Kansas.


                                             s/ Monti Belot
                                             Monti L. Belot
                                             UNITED STATES DISTRICT JUDGE




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